Case 3:16-md-02738-MAS-RLS         Document 33587       Filed 04/08/25       Page 1 of 18 PageID:
                                         263391

                                                               1776 on the Green
                                                               67 East Park Place, Suite 1000
                                                               Morristown, NJ 07960-7105 U.S.A.
  Jessica L. Brennan
                                                               (973)775-6101
  Partner
                                                               Fax: (973) 775-6102
  (973) 775-6120
  jessica.brennan@btlaw.com
                                                               www.btlaw.com


  April 8, 2025

  Honorable Michael A. Shipp, U.S.D.J
  United States District Court for the District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 5W
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court for the District of NJ
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re:      In re: Johnson & Johnson Talcum Powder Products, Marketing, Sales
           Practices, and Products Liability Litigation
           Case No.: 3:16-md-02738-MAS-RLS

  Dear Judges Shipp & Singh:

         Pursuant to the Court’s request for a joint status report (ECF 33427) now that
  the Red River bankruptcy has been dismissed and the Johnson & Johnson Defendants
  have represented to the Court that the bankruptcy will not be appealed, the parties
  jointly offer the following updates on all outstanding issues in this MDL.

  Issues Related to Pending Rule 702 Motions

      • Pending R. 702 Motions – fully briefed

                o On July 23, 2024, Plaintiffs filed motions: to exclude the geology
                  opinions of Drs. Poulton and Webb (ECF 32996); exclude the opinions
                  of Dr. Sutcliffe (ECF 32998); exclude the opinions of Drs. Finan,
                  Saenz, and Holcomb (ECF 32999); exclude the opinions of Dr. Permuth
                  (ECF 33001); exclude the opinions of Drs. Longacre and Felix (ECF
                  33002); exclude the opinions of Drs. Sanchez, Wylie, and Su (ECF
                  33006); exclude the opinions of Dr. DiFeo (ECF 33010); exclude the
                  opinions of Dr. Kornak ECF 33011); and exclude the opinions of Dr.
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25      Page 2 of 18 PageID:
                                        263392
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -2-                           April 8, 2025
  U.S.M.J.

              Boyd (ECF 33060). Plaintiffs also filed a Response to the Court’s April
              30, 2024 Memorandum and Order Regarding Judge Wolfson’s Daubert
              Opinion on General Causation (ECF 33009).

           o On July 23, 2024, Defendants filed motions to exclude the opinions of
             Dr. Clarke-Pearson with respect to Ms. Rausa, Ms. Converse, and Ms.
             Newsome (ECF 33007); exclude the opinions of Dr. Wolf with respect
             to Ms. Bondurant, Ms. Gallardo, and Ms. Judkins (ECF 33003);
             exclude the opinions of Drs. Kessler, Plunkett, Sage, and Newman
             (ECF 33000); exclude the opinions of Dr. Godleski (ECF 33004)
             exclude the opinions Plaintiffs’ experts regarding alleged heavy metals
             and fragrances (ECF 33005); exclude Plaintiffs’ experts’ general
             causation opinions (ECF 33008); exclude Plaintiffs’ experts’ opinions
             regarding biological plausibility/mechanism (ECF 33013); and exclude
             Plaintiffs’ experts’ asbestos-related opinions (ECF 33012).

           o On August 22, 2024, the parties filed their Oppositions to the Daubert
             Motions filed on July 23, 2024.

           o On September 5, 2024, the PSC filed a supplemental brief and affidavit
             (ECF 33252) without leave of Court to their Opposition to Defendants’
             Motion to Exclude Plaintiffs’ Experts’ General Causation Opinions.
             On September 20, 2024, Defendants filed a Motion to Strike the PSC’s
             Supplemental Brief and the Affidavit of Dr. David Mutch (ECF 33291).

           o The above noted motions were not administratively terminated by the
             Court during the stay.

           o The parties jointly submit that the resolution of these motions should
             be the first priority for the orderly and efficient reinstatement of active
             litigation and the preparation for one or more bellwether trials.

           o The parties further request an opportunity to discuss the format and
             conduct of any R. 702 related hearing.
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25    Page 3 of 18 PageID:
                                        263393
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -3-                        April 8, 2025
  U.S.M.J.

     • Pending Motions Related to Dr. William Longo

           o Defendants’ Objections to the Special Master’s Order of July 1, 2024,
             Regarding Inspection of Dr. William Longo’s Laboratory (ECF 32872)
             – fully briefed:

                  On June 17, 2024, Special Master Schneider denied Defendants’
                   Motion to Compel the Inspection of Dr. William Longo’s
                   Laboratory (ECF 32826). Defendants filed an objection to the
                   Special Master’s Order on July 1, 2024 (ECF 32872). Plaintiffs’
                   Opposition to Defendants Objections to the Special Master’s
                   Order was filed on July 22, 2024 (ECF 32992). Defendants filed
                   their Reply on July 29, 2024 (ECF 33035).

                  In light of the hearing request previously submitted and
                   discussed immediately below, Defendants respectfully request a
                   resolution of this motion prior to the conduct of any R. 702
                   related hearing.

           o Hearing On One of the R. 702 Motions: On September 5, 2024,
             Defendants wrote to the Court (ECF 33253) regarding R. 702 motions
             to request a live hearing on Defendants’ Motion to Exclude Plaintiffs’
             Experts’ Asbestos-Related Opinions (ECF 33012), particularly as it
             relates to Dr. William Longo, with cross examination and the ability for
             Defendants to bring up to two rebuttal witnesses. Plaintiffs continue to
             oppose Defendants’ request as stated; however, if a hearing on all
             pending Daubert motions would assist the Court, Plaintiffs stand ready
             to participate.

           o Defendants’ Objections to the Special Master’s Order of August 20,
             2024, Regarding Compelling Mr. Hess To Answer Deposition
             Questions (ECF 33103, 33104) – fully briefed

                  The deposition of Mr. Hess, an employee of Dr. Longo, occurred
                   on July 10, 2024. The PSC raised objections to the scope of the
                   inquiry of Mr. Hess at the beginning of the deposition. The
                   Special Master heard argument from the parties, ruled on the
                   objections, and provided instructions for the scope of questions
                   to be asked the witness.
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25    Page 4 of 18 PageID:
                                        263394
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -4-                        April 8, 2025
  U.S.M.J.

                  It is the PSC’s position that the deposition proceeded in keeping
                   with Special Master Schneider’s orders. On July 22, 2024,
                   Defendants filed a Motion to Compel further testimony from Mr.
                   Hess and asked for Sanctions (ECF 32993- 26). Plaintiff’s’ filed
                   opposition on August 1, 2024 (ECF 33056). Paul Hess, through
                   his personal counsel, filed opposition on August 1, 2024 (ECF
                   33058). Defendants filed their reply on August 2, 2024 (ECF
                   33057). The matter was heard by Special Master Schneider on
                   August 5, 2024. On August 6, 2023, Special Master Schneider
                   granted in part and denied in part Defendants’ motion (ECF
                   33067).

                  Defendants objected to Special Master Schneider’s order on
                   August 20, 2024 (ECF 33103, 33104). The PSC filed their
                   Opposition to Defendants’ Objections to the Special Master’s
                   Order on September 3, 2024 (ECF 33227). Counsel for Mr. Hess
                   separately filed an Opposition on September 3, 2024 (ECF
                   33228). Defendants filed their Reply on September 9, 2024 (ECF
                   33268).

                  In light of the relationship between Mr. Hess’s testimony and the
                   R. 702 issues raised as to Dr. Longo, Defendants respectfully
                   request a resolution of this motion prior to the conduct of any R.
                   702 related hearing.

     • Defendants’ Motion to Strike Rebuttal Expert Report of Dr. Elizabeth
       Stuart (ECF 33038) – fully briefed

           o On July 30, 2024, Defendants filed a Motion to Strike Rebuttal Expert
             Report of Dr. Elizabeth Stuart (ECF 33038). Plaintiffs’ Opposition was
             filed on August 20, 2024 (ECF 33102). Defendants’ Reply was filed on
             August 27, 2024 (ECF 33189).

           o On November 6, 2024, the Court administratively terminated the
             motion, permitting Defendants to renew the motion upon the removal
             of the bankruptcy stay (ECF 33412).

           o Defendants will forthwith refile the motion.
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25    Page 5 of 18 PageID:
                                        263395
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -5-                        April 8, 2025
  U.S.M.J.

  Issues Related to Non-Ovarian Cancer Claims Filed on the Docket

  The parties respectfully submit that the Court’s second priority should be the
  assessment of the claims filed in the MDL. The following motions are the parties’
  respective approaches to this objective. The resolution of the motions may impact
  the scope and conduct of the litigation more broadly.

     • The PSC’s Motion to Establish a Census (ECF 32931) – fully briefed

           o On July 10, 2024, the PSC filed a Motion for the Entry of an Order to
             Establish a Census and Require the Provision of Data by Persons with
             Unfiled Claims/Cases to Confirm the Plaintiff Suffers from Epithelial
             Ovarian Cancer, Fallopian Tube Cancer, or Primary Peritoneal Cancer
             (ECF 32931). Defendants’ Opposition was filed July 19, 2024 (ECF
             32985). Plaintiffs’ Reply to Defendants’ Opposition was filed July 29,
             2024 (ECF 33032).

           o Plaintiffs believe a reasonable and efficient procedure for addressing
             claims filed in the MDL may best be devised after the submission and
             analysis of data regarding both filed and unfiled cases.

           o In light of the dismissal of the Red River Talc bankruptcy, Defendants
             do not oppose a census, but wish to be heard regarding the timing, scope
             and design of such an endeavor, as well as the interplay between a
             census and the motion proposed below.

     • Procedure For Addressing Thousands of Unsupported Claims

           o Defendants seek a procedure to address dismissal of thousands of non-
             ovarian claims, many of which are addressed and/or would be covered
             by the above-described PSC motion (ECF 32931).

           o In addition to statements made by Andy Birchfield there was expert
             testimony presented by the Coalition and Travelers Insurance
             regarding non ovarian cases filed in the MDL that were “non
             compensable”. Importantly, both plaintiff and defense experts agree
             and have testified in the MDL that there is no causal support for the
             association between talcum powder exposure and non-ovarian cancers.
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25      Page 6 of 18 PageID:
                                        263396
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -6-                          April 8, 2025
  U.S.M.J.

           o Defendants will forthwith file a letter requesting a schedule for the
             submission of either a motion to address dismissal of such claims, or
             supplemental briefing in the ECF 32931 motion sequence to request an
             alternative or addition to census (dismissal), including the use of a Lone
             Pine order.

  Issues Related to Bellwether Trial Cases

     • Defendants’ Motion for Summary Judgment – fully briefed

           o Per Order of July 22, 2024 (ECF 32991), J&J and LLT (n/k/a Red River
             Talc LLC) filed their Motion for Summary Judgment on August 23,
             2024 (ECF 33142-33145 in the main docket, copies filed on individual
             dockets for the six involved cases). On September 13, 2024, the PSC
             requested an extension of the page limit for their Opposition brief (ECF
             33275). The Court granted the PSC an additional 35 pages for their
             Opposition brief on September 13th (ECF 33276). On September 23,
             2024, the PSC filed their Opposition to Defendants’ Motion for
             Summary Judgment (ECF 33293).

           o Defendants filed their reply brief on October 16, 2024 (ECF 33369).
             Plaintiffs consented to Defendants’ request for an additional 12 pages
             for their reply brief.

           o While the Motion for Summary Judgment filed on the main MDL
             docket (ECF 33142-33145) was not administratively terminated during
             the stay, the copies of the motion filed on each individual docket for the
             six involved cases were terminated on March 5, 2025, and counsel were
             directed to renew their motions upon expiration of the stay.

           o Defendants will forthwith refile the copies of the Motion for Summary
             Judgment in each of the six individual dockets.

     • Bellwether Trials in the MDL

           o On September 5, 2024, the PSC submitted a letter requesting the
             Judkins and Rausa cases be consolidated for the first trial (ECF 33260).
             Defendants wrote to the Court on September 6th (ECF 33263) objecting
             to the PSC’s request to consolidate multiple cases for the first trial and
             asking the Court to direct the PSC to select one of the two cases,
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25         Page 7 of 18 PageID:
                                        263397
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -7-                             April 8, 2025
  U.S.M.J.

              consistent with Judge Wolfson’s prior ruling on the issue. Defendants
              wrote to the Court again on September 13th (ECF 33274) to request the
              Court’s position before submitting briefing. On September 17, 2024,
              Judge Shipp denied PSC’s request for a consolidated trial and ordered
              the PSC to select a single case to be tried as the first bellwether no later
              than September 24, 2024 (ECF 33279).

            o On September 24, 2024, the PSC submitted a letter noting the
              bankruptcy stay in effect prevented them from selecting a case to be
              tried as the first bellwether (ECF 33296). As the stay has expired, it is
              Defendants’ position that the PSC should immediately identify the
              case it selects to be tried as the first bellwether.

            o Plaintiffs renew their request for a multi-plaintiff trial as stated in their
              letter of September 5, 2024 (ECF 33263). Consolidation is permitted
              under Rule 42. Moreover, consolidation is appropriate in light of the
              needless delay as a result of Defendants filing yet a third bankruptcy
              that was dismissed. The Judkins and Newsome cases have common
              issues of fact and law which are appropriate for consolidation.
              Plaintiffs wish to be heard on the issue of the consolidation of cases
              for trial.

            o Defendants oppose consolidation, an issue that already has been
              addressed twice. In the event the Court wishes to consider this
              proposal a third time, Defendants will request the opportunity to
              submit limited briefing and an expert affidavit in support of their
              position.

            o Further, Plaintiffs will seek the remand of cases for trial in the
              appropriate transferor jurisdictions. The trial of cases filed in the MDL
              has been delayed more than three years as a result of Defendants filing
              three bankruptcies which have subsequently been dismissed. The
              undue delay has resulted in thousands of plaintiffs dying prior to
              having their day in Court. Since the dismissal of the Red River Talc
              LLC bankruptcy, Defendant Johnson & Johnson has stated publicly
              that it “intends to litigate every filed case.” In light of Defendants’
              position on settlement and the substantial delay caused by the
              bankruptcies, Plaintiffs will file the appropriate motion(s) with the
              Court to remand cases for trial to the appropriate district court.
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25       Page 8 of 18 PageID:
                                        263398
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -8-                           April 8, 2025
  U.S.M.J.

            o Defendants position is that it would be premature to discuss remand at
              this time in advance of resolution of the Rule 702 motions, the
              census/dismissal motion discussed above, and at least two bellwether
              trials (plaintiff pick, defense pick), as the MDL process is designed to
              conclude such activity in the first instance and moreover may render
              the need for remand moot. Defendants are not opposed to the
              implementation of an efficient and intentional schedule to reach
              remand expeditiously at the appropriate time, should the need exist.

      • Scheduling Pretrial Conference and Trial

            o Pretrial conferences were previously scheduled for November 14,
              2024, and November 26, 2024. On November 1, 2024, this Court
              adjourned both conferences until such time as the bankruptcy stay was
              lifted and directed the parties to file a letter requesting the conferences
              be rescheduled (ECF 33410).

            o On November 20, 2024, this Court adjourned the previously scheduled
              trial date of December 3, 2024, and did not set a new date (no
              corresponding ECF).

            o The parties request a status conference to discuss with the Court a new
              trial date as well as the rescheduling of deadlines and conferences
              consistent with those previously outlined in the Court’s April 30, 2024
              Scheduling Order.

  Plaintiffs’ Steering Committee’s Motion to Amend Master Complaint – fully
  briefed

     • Plaintiffs filed a Renewed Motion for Leave to File a Second Amended Master
       Long Form Complaint on August 14, 2023 (ECF 26636). Special Master
       Schneider granted the motion, except as to the addition of a specific claim for
       spoliation, on January 10, 2024 (ECF 28902).

     • Defendants filed an appeal of the Special Master Schneider’s order on January
       24, 2024 (ECF 28922). Plaintiffs filed a response on February 6, 2024 (ECF
       28992). Defendants filed a reply on February 13. 2024 (ECF 29033).

     • The issue is fully briefed.
Case 3:16-md-02738-MAS-RLS        Document 33587 Filed 04/08/25    Page 9 of 18 PageID:
                                        263399
  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh,               -9-                        April 8, 2025
  U.S.M.J.


  Issues Related to the Composition of the PSC

      • Motion to Remove Beasley Allen from the PSC – additional briefing
        requested

            o On September 20, 2024, the Johnson & Johnson Defendants filed a
              Motion to Remove Beasley Allen from the Plaintiffs’ Steering
              Committee (ECF 33290). The motion was previously referred to
              Judge Singh and set for hearing on November 4, 2024.

            o Beasley Allen requested, and the Court granted, an extension of the
              deadline to respond to the motion until October 25, 2024, with a
              corresponding extension of Johnson & Johnson’s reply deadline from
              October 28 to November 1, 2024 (ECF 33334).

            o On October 24, 2024, Counsel for Beasley Allen submitted a letter on
              informing this Court that the Bankruptcy Court had issued an order
              staying this litigation, including the issues of disqualification of
              Beasley Allen and Andy Birchfield and removal of Beasley Allen from
              the PSC (ECF 33402).

            o On October 28, 2024, this Court issued a letter order staying the
              briefing schedule and administratively terminating the motion and
              permitting counsel to file a letter requesting the motion be reinstated
              once the bankruptcy stay was lifted (ECF 33406).

            o Defendants will forthwith file a letter requesting the motion be
              reinstated.

            o Should the Court desire a formal response from Beasley Allen to
              Defendants’ September 30, 2024, filing (ECF 33290), Beasley Allen
              requests 10 days to finalize and submit response.

            o Defendants also will seek leave to filed supplemental briefing on the
              issue regarding additional, relevant facts discovered during the course
              of the Red River Talc bankruptcy matter that also bear on Beasley
              Allen’s fitness for a leadership position in this matter.
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 10 of 18
                                       PageID: 263400
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 10 -                      April 8, 2025
U.S.M.J.

           o Beasley Allen opposes Defendants’ motion to supplement the record
             because none of the “facts” Defendants obtained in Texas were before
             the tribunal when J&J filed its motion. This litigation has taken too
             many twists and turns, and Plaintiffs oppose one more effort by
             Defendant to adduce facts not before the Court previously.

           o Defendants submit that such supplemental briefing should occur
             before Beasley Allen is required to respond to the motion, and that the
             Opposition and Reply deadlines be reset accordingly.

   • Motion for the Disqualification of Beasley Allen and Andy Birchfield –
     fully briefed

          o On December 5, 2023, Defendants J&J and LLT Mgt. (n/k/a Red River
            Talc LLC) filed a motion to disqualify Beasley Allen and Andy
            Birchfield from this litigation (ECF 28760). Defendants filed a
            mirroring motion in the New Jersey Talcum Powder Multicounty
            Litigation, before the Honorable John C. Porto of the New Jersey
            Superior Court.

          o This Court, in conjunction with Judge Porto, subsequently held nearly
            three full days of hearings on the issue of disqualification of Beasley
            Allen, takin testimony from a multitude of witnesses. On July 19, 2024
            Judge Porto issued a memorandum decision and order denying
            Defendants’ motion filed in New Jersey Superior Court.

          o On July 19, 2024, this Court entered an order directing the parties to
            show cause why the MCL Court’s findings of fact and conclusions of
            law should not be adopted (ECF 32984). On July 25, 2024, Defendants
            filed their response to the Court’s July 19, 2024 Show Cause Order
            (ECF 33026). On August 5, 2024, Beasley Allen submitted a
            responsive brief (ECF 33065). On August 12, 2024, Defendants filed
            their Supplemental Reply to the Court’s July 19, 2024, Show Cause
            Order Explaining Why the Court Should Not Adopt the State MCL
            Judge’s Findings of Fact and Conclusions of Law on Their Motion to
            Disqualify Beasley Allen from This Litigation (ECF 33084).

          o On October 28, 2024, this Court issued a letter order administratively
            terminating the motion at ECF 28760 and permitting counsel to file a
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 11 of 18
                                       PageID: 263401
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 11 -                      April 8, 2025
U.S.M.J.

             letter requesting the motion be reinstated once the bankruptcy stay was
             lifted (ECF 33406).

          o Defendants will forthwith file a letter requesting the motion be
            reinstated.

          o Beasley Allen believes that this matter has been fully briefed, Judge
            Porto has already ruled in Mr. Birchfield/Beasley Allen's favor (finding
            no ethical violation), and that this Court should issue an Order adopting
            the analysis expressed by Judge Porto.

Issues Related to Various Subpoenas and Similar Issues

   • The PSC’s Motion to Compel Defendants To Produce Invoices For All
     Expert Work Relating To Talc Claims (ECF 33052) – fully briefed

          o On August 1, 2024, the PSC filed a letter seeking to compel Defendants
            to produce invoices for all expert work relating to talc claims, whether
            related to this MDL or not (ECF 33052). On August 1, 2024,
            Defendants filed a letter in response (ECF 33053) noting the PSC’s
            “motion” is procedurally improper under the Local Rules as it is not
            actually a motion. On August 9th, the Court instructed the parties to
            meet and confer no later than August 20th (ECF 33077). If the parties
            remain at an impasse after that meeting, the Court ordered Defendants
            to file their Opposition by August 27th, and the PSC to file their Reply
            by September 4th. On August 19th, the parties met and conferred on
            the issue but were unable to resolve the dispute. Defendants filed their
            Opposition to the motion on August 27th (ECF 33187). The PSC filed
            their Reply on September 4, 2024 (ECF 33232).

   • Plaintiffs’ Subpoena to Analysis Group LLC

           o On June 11, 2024, the PSC served Analysis Group LLC with a
             subpoena for information related to Defendants’ expert Dr. Kathleen
             Sutcliffe and her work on this litigation.

           o The Defendants view the subpoena as overbroad, raising issues of
             financial disclosures for all experts in the MDL, which issue is also
             implicated by the above described motion (ECF 33052).
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 12 of 18
                                       PageID: 263402
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 12 -                      April 8, 2025
U.S.M.J.

           o Defendants respectfully submit that resolution of the above-described
             invoice-related motion (ECF 33052) is likely to focus and streamline
             meet and confer efforts as to this subpoena.

   • Defendants’ Objections to Special Master’s Order of July 9, 2024,
     Regarding Subpoenas Served on Beasley Allen Law Firm, Smith Law
     Firm, and Ellington Management Group (ECF 33061) – additional
     briefing requested

          o On May 20 and 21, 2024, Defendants filed Notices of Intent to Serve
            Subpoenas on the Beasley Allen Law Firm (ECF 32201), Ellington
            Management Group (ECF 32215), and the Smith Law Firm (ECF
            32226). On May 30, 2024, the Plaintiffs Steering Committee filed a
            Motion to Quash or for Protective Order regarding these subpoenas
            (ECF 32483). Also on May 30, 2024, the Beasley Allen Law Firm
            separately filed a Motion to Quash and/or for Protective Order
            concerning the subpoena directed to the Beasley Allen Law Firm (ECF
            32445). On June 3, 2024, Allen Smith and the Smith Law Firm filed a
            Motion to Quash the Subpoena directed to them (ECF 32603).
            Defendants filed one opposition to all three motions on June 17, 2024
            (ECF 32827). Beasley Allen served their reply brief on June 24, 2024
            (ECF 32858).

          o All three motions were heard on July 1, 2024, in a hearing conducted
            by Special Master Schneider. On July 9, 2024, Special Master
            Schneider granted all three Motions to Quash (ECF 32926).

          o On July 21, 2024, Defendants J&J and LLT Mgt. (n/k/a Red River Talc
            LLC) filed their Notice of Objections to Special Master Order No. 25
            (ECF 32987). On August 5, 2024, responses in opposition to the
            Objection were filed by Beasley Allen (ECF 33061); the PSC (33062);
            and the Smith Law Firm (ECF 33064). On August 12, 2024, Defendants
            filed their Reply (ECF 33085). On August 26, 2024, Defendants filed a
            letter apprising the Court of additional relevant authority (ECF 33171).
            On September 27, 2024, Defendants filed a letter informing the Court
            of Judge Brian Martinotti’s decision in MSP Recovery Claims Series,
            LLC v. Sanofi-Aventis U.S. LLC, Docket No. 2:18-cv-02211 (ECF
            33306).
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 13 of 18
                                       PageID: 263403
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 13 -                      April 8, 2025
U.S.M.J.

          o The motion objecting was not administratively terminated by the Court
            during the bankruptcy stay and remains pending.

          o It is Defendants’ position that discovery concerning the financial
            backing for this litigation has become all the more paramount as a result
            of testimony elicited during the Red River Talc bankruptcy matter that
            directly contradicts certain representations made in the course of prior
            argument on these matters.

           o Defendants will seek leave to file supplemental briefing on these issues
             and requesting that the Court set a schedule for both Opposition and
             Reply deadlines.

           o Plaintiffs assert that no material facts were discovered during the Red
             River bankruptcy that affect the consideration of Judge Schneider’s
             order, and that further briefing is unnecessary. Defendants’ objection
             to Judge Schneider’s order should be denied, but should the Court
             grant additional briefing, Plaintiffs will respond accordingly.

    • Plaintiffs’ Subpoena to Public Library of Science (PLOS)

           o On March 20, 2024, the PSC served the Public Library of Science
             (PLOS) with a subpoena for information related to a manuscript
             submitted by Plaintiffs’ expert Dr. Saed to PLOS in 2020.

           o On April 12, 2024, Counsel for PLOS served an objection to the
             subpoena claiming privilege and confidentiality and attaching to the
             objection a Privilege Log on counsel for the Plaintiffs.


Issues Related to Various Pending PPF OTSC Motions

   • Defendants’ Proposed Final Dismissal Order Listing 2016-2017 Cases
     Subject To The June 11th PPF OTSC Which Failed to Show Good Cause
     To The Court (ECF 32980):

          o On June 11, 2024, this Court entered Defendants’ Order to Show Cause
            why the cases listed in Exhibit A attached to the Order should not be
            dismissed with prejudice for their failure to provide Defendants with
            Plaintiff Profile Forms (ECF 32811). The Plaintiffs subject to the Order
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 14 of 18
                                       PageID: 263404
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 14 -                      April 8, 2025
U.S.M.J.

             had until July 2, 2024, to show cause why their case should not be
             dismissed with prejudice. On July 17, 2024, Defendants filed a final
             dismissal order listing 2016-2017 cases subject to the June 11th OTSC
             which failed to show good cause to the Court (ECF 32980). The PSC
             has no objection to the order as submitted by Defendants on July 17,
             2024 (ECF 32980). The Defendants request that the final dismissal
             order be entered.

   • Defendants’ Proposed PPF OTSC Filed On July 1st (ECF 32868):

           o Defendants filed an OTSC on July 1st (ECF 32868) regarding cases
             filed and/or transferred to this MDL in 2020 which remain deficient in
             serving PPFs. The cases listed on the July 1st OTSC were previously
             listed to the Court on the May and June PPF Reports (ECF 32127 &
             ECF 32599). Defendants respectfully request the July 1st OTSC be
             entered at the Court’s earliest convenience.

   • Defendants’ Proposed PPF OTSC Filed On September 3rd (ECF 33224):

          o Defendants filed an OTSC on September 3rd (ECF 33224) regarding
            cases filed and/or transferred to this MDL from 2021 to September 1,
            2023 which remain deficient in serving PPFs. The cases listed on the
            September 3rd OTSC were previously listed to the Court on the July
            and August PPF Reports (ECF 32869 & ECF 33055). Defendants
            respectfully request the September 3rd OTSC be entered at the Court’s
            earliest convenience.

   • PPF OTSC Entered On August 15, 2024 (ECF 33096):

          o On August 15, 2024, Your Honor entered Defendants’ Order to Show
            Cause regarding PPF deficiencies (ECF 33096). Plaintiffs subject to the
            OTSC had until September 5, 2024, to show cause why their case
            should not be dismissed with prejudice. Defendants filed replies (ECF
            33270; ECF 33269; ECF 33265; ECF 33272; Case No. 3:19-cv-12142,
            ECF 9; Case No. 3:18-cv-11691, ECF 10) to certain Plaintiffs’
            responses to the OTSC which requested additional time to serve
            discovery, dismiss the case without prejudice, or delay dismissal until
            after a motion to withdraw as counsel is decided. Defendants will file
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 15 of 18
                                       PageID: 263405
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 15 -                      April 8, 2025
U.S.M.J.

             a final dismissal order listing the cases subject to the August 15th OTSC
             which failed to file a PPF and show good cause to the Court.

          o On December 11, 2024, this Court administratively terminated
            Plaintiffs’ Motion for Judicial Notice and Defendants’ Motion to
            Dismiss and directed Plaintiffs to inform the Court of when the
            bankruptcy stay was lifted and request the motions be reinstated (Case
            No. 3:24-cv-06320, ECF 53).

Plaintiffs’ Counter Proposal Regarding PPF Orders and Deadlines:

       In an effort to streamline and limit the number of orders the Court will need
to enter, Plaintiffs propose that the previous Plaintiff Profile Form deadlines be
vacated and the deadlines modified as follows consistent with all other requirements
of the Plaintiff Profile Form Order:

          o All Plaintiffs with cases pending as of March 31, 2025 will have 90
            days from this date to submit their Plaintiff Profile Form (if not already
            submitted). Any cases who do not submit a Plaintiff Profile Form by
            this deadline (June 30, 2025) will automatically be subject to an Order
            to Show Cause as to why their cases should not be dismissed with
            prejudice. If any plaintiffs fail to show cause by July 15, 2025, then
            their cases will be dismissed with prejudice.

          o All Plaintiffs with cases filed after March 31, 2025 will have 90 days
            after the date of filing to submit their Plaintiff Profile.

          o Defendants do not oppose Plaintiffs’ proposal as to those cases
            submitted after March 31, 2025, and agree that adjusted schedules will
            have to be created for future monitoring of compliance issues.
            However, as to those cases already subject to various OTSC,
            Defendants submit that there is no good cause for those cases which
            already were afforded multiple opportunities for the individual
            claimants to submit PPF, to be given even more time for compliance.

   Additional Matters

   • Defendants’ Motion to Dismiss the Complaint in Bynum (Case No. 3:24-
     cv-07065, ECF 11):
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 16 of 18
                                       PageID: 263406
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 16 -                      April 8, 2025
U.S.M.J.

          o On August 21, 2024, Defendants filed a Motion to Dismiss the Bynum
            Complaint seeking certification of a medical monitoring class (Case
            No. 3:24-cv-07065, ECF 11). On August 30, 2024, the Parties entered
            into a Stipulation to Extend Time for the Plaintiffs to Respond to the
            Motion to Dismiss or file an Amended Complaint by September 26,
            2024 (Case No. 3:24-cv-07065, ECF. 12). The Court granted that
            stipulation the same day (Case No. 3:24-cv-07065, ECF 13).

          o Plaintiffs did not file an opposition to the Motion to Dismiss or an
            Amended Complaint by September 26, 2024, because of the stay order.

          o On December 11, 2024, this Court stayed the matter and
            administratively terminated Defendants’ motion and directed Plaintiffs
            to file correspondence notifying the Court when the stay was lifted and
            requesting the motion be reinstated (Case No. 3:24-cv-07065, ECF 17).

          o The parties will meet and confer and file a joint status report on April
            10, 2025, in keeping with the Court’s text order of April 3, 2025 (ECF
            18).

   • Plaintiffs’ and Defendants’ Motions in Love (Case No. 3:24-cv-06320,
     ECF 47):

          o On June 11, 2024, Plaintiffs filed a Motion for Judicial Notice of
            Certain Documents (Case No. 3:24-cv- 06320, ECF 7). The motion
            was unopposed.

          o On July 11, 2024, Defendants filed a Motion to Dismiss Class Action
            Complaint in the Love matter (Case No. 3:24-cv- 06320, ECF 47).
            Plaintiffs filed their Opposition to the Motion to Dismiss on July 22,
            2024 (Case No. 3:24-cv- 06320, ECF 48). On July 29, 2024,
            Defendants filed their Reply in Support of their Motion to Dismiss
            (Case No. 3:24-cv- 06320, ECF 50).

          o The parties will meet and confer and file a joint status report on April
            10, 2025 in keeping with the Court’s text order of April 3, 2025 (ECF
            54).
Case 3:16-md-02738-MAS-RLS             Document 33587   Filed 04/08/25   Page 17 of 18
                                       PageID: 263407
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 17 -                      April 8, 2025
U.S.M.J.

   • Defendants’ Omnibus Motion for Summary Judgment In The Matters
     Of Williams (Case No. 3:19-cv-18778) And Hill (Case No. 3:18-cv-8344) -
     fully briefed

          o On June 18, 2021, Defendants filed an Omnibus Motion for Summary
            Judgment (ECF 22865) regarding the cases of Williams (Case No. 3:19-
            cv-18778); Hill (Case No. 3:18-cv-8344); Scroggins (Case No. 3:18-
            cv-12766); and Landreth (Case No. 3:17-cv-11788). Plaintiff Hill filed
            Opposition to the motion on July 9, 2021 (ECF 23518); Plaintiff
            Williams filed Opposition to the motion on July 9, 2021 (Case No.
            3:19-cv-18778, ECF 24); Plaintiff Landreth filed Opposition to the
            motion on July 9, 2021 (Case No. 3:17-cv-11788, ECF 25); and
            Plaintiff Scroggins filed Opposition to the motion on July 9, 2021 (Case
            No. 3:18-cv-12766, ECF 43). Defendants filed their Reply as to
            Williams, Hill, and Scroggins on July 21, 2021 (ECF 23977).
            Defendants withdrew the motion, without prejudice, as to Landreth on
            September 12, 2023 (ECF 27954).

          o Pursuant to the Court’s request that an unredacted copy of the Omnibus
            Motion for Summary Judgment be filed, Defendants refiled the motion
            on November 8, 2023 (ECF 28668).

          o On December 7, 2023, the Court denied Defendants’ motion as to
            Scroggins only (Case No. 3:18-cv-12766, ECF 46).

          o The motion has not been administratively terminated and remains
            pending as to Williams and Hill.

   • CMO 9 Notices

           o On August 14, 2024, Defendants filed an Order to Show Cause (ECF
             33089) why cases listed on Exhibit A should not be dismissed with
             prejudice for their failure to either file a Notice of Inability to
             Substitute (“NIS”), move to substitute the proper party plaintiff, or file
             an amended complaint by July 12, 2024, pursuant Paragraphs 2 and 3
             of the Court’s May 15, 2024, Order Regarding CMO 9 Notices (ECF
             32181). Since that time, over 100 cases listed on Exhibit A attached to
             the proposed OTSC have filed an NIS. Defendants will provide the
Case 3:16-md-02738-MAS-RLS             Document 33587    Filed 04/08/25   Page 18 of 18
                                       PageID: 263408
Honorable Michael A. Shipp, U.S.D.J.
Honorable Rukhsanah L. Singh,                  - 18 -                       April 8, 2025
U.S.M.J.

                Court with an updated list of cases which failed to file an NIS and
                should be subject to the OTSC.

New Jersey Proceedings Before Judge Porto

      • A case management conference is scheduled before Judge Porto on April 9,
        2025, at 10 a.m. ET, to discuss, inter alia, certain issues relative to an
        individual matter, Nesko.
      • The parties have jointly requested a separate and additional case management
        conference before Judge Porto to address the orderly resumption and conduct
        of the docket.

      • The parties have fully briefed Defendants’ Accutane and dispositive motions
        in bellwether cases Carl and Balderrama. Plaintiffs did not file any Accutane
        or dispositive motions.

      • On September 20th, Chief Judge of the Appellate Division, the Honorable
        Thomas W. Sumners, Jr., granted Defendants leave to file an interlocutory
        appeal of Judge Porto’s order denying Defendants’ Motion to Disqualify
        Beasley Allen. Defendants filed their appeal on October 24, 2024. On
        November 14, 2024, Chief Judge Sumners, Jr., entered an order staying the
        matter pursuant to the bankruptcy stay and permitting any party to move to
        reinstate the appeal upon expiration of the stay. Defendants will forthwith
        move to reinstate the appeal. The matter is docketed at AM-000215-24.

Thank you for your attention to these matters.

                                                        Respectfully submitted,

                                                        /s/ Jessica L. Brennan

cc:      Kristen Fournier, Esq. (via email)
         Leigh O’Dell, Esq. (via email)
         Michelle Parfitt, Esq. (via email)
         All Counsel (via ECF)
